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                  IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                  Plaintiff,

                                                Case No. 1:19-CV-11438-MBB
       v.
                                                JURY TRIAL DEMANDED
OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                  Defendant



     DEFENDANT OMILIA NATURAL LANGUAGE SOLUTIONS, LTD.’S
                      MOTION TO DISMISS

       Defendant Omilia Natural Language Solutions, Ltd. (“Omilia NLS”), by and

through its counsel of record, hereby moves to dismiss Nuance Communications, Inc.’s

(“Nuance”) Complaint in its entirety under Fed. R. Civ. P. 12(b)(2) and 12(b)(5). The

grounds for this motion are set forth in the Memorandum of Points and Authorities

submitted with this motion.




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                         REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Omilia NLS believes that oral argument may assist

the Court and requests oral argument of this motion.



Dated: August 22, 2019
                                            Respectfully Submitted,




                                            _/s/ Kevin C. Adam__________
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                      LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that on August 22, 2019, counsel for Omilia NLS and Nuance

conferred in good faith about this motion but were unable to resolve or narrow the issues

raised in this motion at this time. Counsel have agreed to continue to confer following

the filing of this motion.


                                             /s/ Kevin C. Adam
                                             Kevin C. Adam




                             CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on August 22, 2019, with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5.4 (c). Any other counsel of record will

be served by First Class U.S. Mail on this same date.

                                             /s/ Kevin C. Adam
                                             Kevin C. Adam




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